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 6

 7

 8                       IN THE UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA                  CASE NO. 1:17-CR-00198-LJO-SKO
11                            Plaintiff,       STIPULATION TO VACATE
                                               STATUS CONFERENCE HEARING
12                      v.                     OF NOVEMBER 6, 2017
13   CARLOS MONTANO,
14                            Defendant.
15
           The parties herein CARLOS MONTANO, by and through counsel Nicholas
16
     F. Reyes, and THE UNITED STATES OF AMERICA, by and through AUSA Kimberly
17
     Sanchez hereby stipulate as follows:
18

19         1.    By this stipulation, defendant and the government now move to vacate

20 the status conference scheduled solely for Defendant Carlos Montano on November 6,

21
     2017, and to exclude time between November 6, 2017 and December 18, 2017, under
22

23 Local Code T4.

24         2.    Defendant already has a status conference scheduled in this matter for
25
     December 18, 2017, at 1:30 p.m. before the Honorable Judge O’Neill.
26

27         3.    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

28 3161, et seq., within which trial must commence, the time period between November 6,
                                               1

30
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 1 2017 to December 18, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.

 2
     §3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
 3
     the Court at defendant’s request on the basis of the Court’s finding that the ends of
 4

 5 justice served by taking such action outweigh the best interest of the public and the

 6
     defendant in a speedy trial.
 7
           4.    Nothing in this stipulation and order shall preclude a finding that other
 8

 9 provisions of the Speedy Trial Act dictate that additional time periods are excludable

10
     from the period within which a trial must commence.
11

12
     IT IS SO STIPULATED.

13

14
     Dated: October 20, 2017                      /s/Nicholas F. Reyes
                                                  NICHOLAS F. REYES, ESQ.
15                                                Attorney for Defendant
16                                                CARLOS MONTANO

17

18 IT IS SO STIPULATED.

19

20                                                /s/ Kimberly Sanchez
     Dated: October 20, 2017                      KIMBERLY SANCHEZ
21                                                Assistant United States Attorney
22

23 IT IS SO ORDERED.

24
        Dated:   October 23, 2017                    /s/ Lawrence J. O’Neill _____
25                                         UNITED STATES CHIEF DISTRICT JUDGE

26

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